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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )             8:11CR251
                      Plaintiff,                   )
                                                   )
       vs.                                         )              ORDER
                                                   )
DONALD WILLIAM MILLER, JR.,                        )
                                                   )
                      Defendant.                   )




       This matter is before the court on the motion of Assistant Federal Public Defender
Michael F. Maloney and the Office of the Federal Public Defender to withdraw as counsel for
the defendant, Donald W illiam Miller, Jr. (Miller) (Filing No. 35). Mr. Maloney represents that
the Office of the Federal Public Defender has a conflict of interest in this matter. Mr.
Maloney’s and the Office of the Federal Public Defender’s motion to withdraw (Filing No. 35)
is granted.
       Beau G. Finley, 209 South 19th Street, #500, Omaha, NE 68102, (402) 345-1153, is
appointed to represent Miller for the balance of these proceedings pursuant to the Criminal
Justice Act. Mr. Maloney shall forthwith provide Mr. Finley with the discovery materials
provided the defendant by the government and such other materials obtained by Mr. Maloney
which are material to Miller’s defense.
       The clerk shall provide a copy of this order to Mr. Finley, and he shall file his
appearance forthwith.


       IT IS SO ORDERED.


       DATED this 15th day of September, 2011.


                                                   BY THE COURT:

                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
